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14                          UNITED STATES DISTRICT COURT

15                       NORTHERN DISTRICT OF CALIFORNIA

16
                                   SAN JOSE DIVISION
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     FEDERAL TRADE COMMISSION,               Case No. 5:17-cv-00220-LHK
19
                      Plaintiff,             QUALCOMM INCORPORATED’S
20                                           STATEMENT OF RECENT DECISION
                vs.
21
     QUALCOMM INCORPORATED,                  CIVIL L.R. 7-3(d)(2)
22   a Delaware corporation,
                                             Judge: Hon. Lucy H. Koh
23                    Defendant.

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                                                    STATEMENT OF RECENT DECISION
                                                       Case No. 5:17-cv-00220-LHK-NMC
      Case 5:17-cv-00220-LHK Document 1477 Filed 03/15/19 Page 2 of 3



 1          Pursuant to Civil L.R. 7-3(d)(2), Qualcomm Incorporated (“Qualcomm”) respectfully

 2   submits this Statement of Recent Decision bringing to the Court’s attention the Japan Fair Trade

 3   Commission’s recent decision in Case No. 2010 (Han) No. 1, dated March 14, 2019, revoking the

 4   Cease and Desist Order (“CDO”) issued by the JFTC on September 28, 2009. A true and correct

 5   copies of the Japanese language version of the Decision is attached to the Declaration of

 6   Yoshihito Shibata, which is submitted as Exhibit A hereto. Qualcomm will submit a certified

 7   translation of the Decision promptly. The JFTC’s CDO was the subject of trial testimony at Tr.

 8   2051:2-23; 2067:8-2070:13.

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10    Dated: March 15, 2019                                 MORGAN, LEWIS & BOCKIUS LLP
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12                                                   By:    /s/ Geoffrey T. Holtz

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                                                                    STATEMENT OF RECENT DECISION
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